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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------x
ADAM POTTER,                                                  :
                                                              :
                        Plaintiff,                            :      20-CV-4599 (JGK) (OTW)
                                                              :
                      -against-                               :      ORDER
                                                              :
BEACON INTERCONTINENTAL GROUP, INC.,
                                                              :
ET AL.,
                                                              :
                        Defendants.                           :
                                                              :
--------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         The Court has reviewed ECF Nos. 132, 138, and 141.

         By February 10, 2023, counsel for Defendants shall file a letter explaining

to the Court why Paragraph 7 of the Protective Order in this action is not sufficient to prevent

disclosure of any confidential documents or testimony.

         Also by February 10, 2023, Plaintiff’s counsel shall file a letter explaining to the Court

whether the purpose of de-designating the deposition transcripts referenced in ECF 132 is so

that Plaintiff may review the deposition transcripts in their entirety, or whether Plaintiff wishes

to review them for some other reason.

         Both letters shall be filed under seal, and shall not exceed two single-spaced pages.


         SO ORDERED.



                                                                    s/ Ona T. Wang
Dated: February 6, 2023                                           Ona T. Wang
       New York, New York                                         United States Magistrate Judge
